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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 22-5222                                                 September Term, 2022
                                                                       1:21-cv-03366-JEB
                                                        Filed On: March 8, 2023
Taylor Budowich,

              Appellant

Conservative Strategies, Inc., a California for
profit corporation,

              Appellee

       v.

Nancy Pelosi, in her official capacity as
Speaker of the United States House of
Representatives, et al.,

              Appellees


                                         ORDER

       Upon consideration of the stipulation of dismissal, it is

     ORDERED that the Clerk note on the docket that this case is dismissed.
No mandate will issue.

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Amanda Himes
                                                          Deputy Clerk
